               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:17 cr 72-2


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )            ORDER
                                            )
JUAN C. VASQUEZ,                            )
                                            )
                  Defendant.                )
____________________________________        )


       THIS MATTER is before the undersigned pursuant to a Motion to Waive

Appearance at Arraignment (#21) filed by counsel for Defendant. It appears to the

undersigned that the Government consents to the motion, however, Defendant will

be required to file a Waiver of Arraignment which is signed by Defendant consistent

with the Local Rules of Criminal Procedure. Defendant’s counsel will be required

to appear at the arraignment hearing on behalf of Defendant.

       Based upon the foregoing, the undersigned has determined to enter an Order

allowing the motion, subject to Defendant filing a Waiver of Arraignment signed by

Defendant and Defendant’s counsel appearing at the arraignment.

                                     ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Waive Appearance at

Arraignment (#21) is hereby ALLOWED subject to the conditions set forth above.




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                              Signed: August 7, 2017




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